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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF


v.                                    Case No. 4:19-cr-40018


LONNIE JOSEPH PARKER                                                                 DEFENDANT

                                             ORDER

       Before the Court is Defendant Lonnie Joseph Parker’s Motion for New Trial. ECF No.

196. The government has responded. ECF No. 199. Thus, the matter is ripe for the Court’s

consideration.

                                       I. BACKGROUND

       On October 28, 2022, a jury returned a guilty verdict against Defendant on two counts of

distribution of a Schedule II controlled substance without an effective prescription, in violation of

21 U.S.C. § 841(a)(1), (b)(1)(C), and two counts of distribution of a Schedule V controlled

substance without an effective prescription, in violation of 21 U.S.C. § 841(a)(1), (b)(3). During

trial and on October 18, 2022, Shelli Chupik, a diversion investigator for the Drug Enforcement

Administration (DEA), testified. As is relevant to Defendant’s instant motion, Chupik testified

regarding the 2016 Center for Disease Control (CDC) Guidelines (the 2016 Guidelines) and the

Arkansas State Medical Board’s regulations. Also during trial and on October 18, 2022, the

government called Dr. Mark Rubenstein as an expert witness. Dr. Rubenstein is a medical

practitioner and, like Chupik, testified regarding the 2016 Guidelines and the Arkansas State

Medical Board’s regulations.      Together, Chupik and Dr. Rubenstein’s testimonies provided

information regarding the morphine milligram equivalent (MME) dosage limits set forth by these

guidelines and regulations.
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       On March 3, 2023, Defendant filed the instant motion. Relying on Federal Rule of

Criminal Procedure 33, Defendant argues that he is entitled to a new trial because the CDC issued

new guidelines in 2022 (the 2022 Guidelines), one week after the conclusion of his trial. Defendant

contends that the 2022 Guidelines support his trial theory: a physician has discretion in deciding

what medication (and how much of that medication) is appropriate for a particular patient.

Defendant asserts that, at trial, the government relied on the 2016 Guidelines (which were

“promulgated into law in the Regulations of the Arkansas State Medical Board”) as the standard

of medical care against which the jury was to assess Defendant’s prescribing practices. ECF No.

196, at 4. In Defendant’s view, if a jury was able to assess Defendant’s practices using the 2022

Guidelines, that jury would conclude that Defendant “was writing lawful, socially beneficial

prescriptions.” ECF No. 196, at 9. Ultimately, Defendant maintains that “[t]he evaluation of the

risks and benefits of opiate therapy is a matter of medical judgement [sic] and should not be

dictated to doctors by the DEA through prosecution, and the CDC guidelines should not have been

used against Dr. Parker at trial. As made clear by the 2022 guidelines.” ECF No. 196, at 16.

       The government opposes Defendant’s request for a new trial and argues that “the 2022

CDC Guidelines are not newly discovered evidence that is material and would result in an acquittal

upon retrial.” ECF No. 199, at 1. In the government’s view, the 2022 Guidelines are merely

“recommendations for the medical community” and do not constitute newly discovered evidence

within the meaning of Rule 33. ECF No. 199, at 2. Further, the government argues that the

applicable standard of care is set forth by Arkansas Code Annotated § 17-95-201 and the Arkansas

State Medical Board’s regulations, which were admitted into evidence and referred to regularly by

both parties. ECF No. 199, at 3-4. The government concludes by noting the fact that Defendant’s

motion is inherently contradictory, as he “argues on one hand that the 2016 CDC Guidelines

‘should not have been used against [him] at trial,’ but, on the other hand, argues that the 2022 CDC
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Guidelines are material evidence that would result in an acquittal in a new trial.” ECF No. 199, at

5 (citation omitted). For the following reasons, the Court finds that Defendant’s motion for a new

trial should be denied.

                                         II. DISCUSSION

       Rule 33 provides that “[u]pon a defendant’s motion, the court may vacate any judgment

and grant a new trial if the interest of justice so requires.” Fed. R. Crim. P. 33(a). More

specifically, Rule 33 allows a district court to grant a new trial where evidence has newly been

discovered. Fed. R. Crim. P. 33(b). Although Rule 33 does not itself define “newly discovered

evidence,” the Court finds Federal Rule of Evidence 401 instructive. Rule 401 defines relevant

evidence as “evidence having any tendency to make the existence of any fact that is of consequence

to the determination of the action more probable or less probable than it would be without the

evidence.” Fed. R. Evid. 401.

       “[T]he primary purpose of the newly discovered evidence rule is to afford relief when,

‘despite the fair conduct of the trial, . . . facts unknown at the trial’ make clear that ‘substantial

justice was not done.’” United States v. Ugalde, 861 F.2d 802, 807 (5th Cir. 1988) (alteration in

original) (citation omitted). However, such motions are disfavored, United States v. Glinn, 965

F.3d 940, 942 (8th Cir. 2020), and “[a] defendant is not entitled to a new trial ‘unless the evidence

weighs heavily enough against the verdict that a miscarriage of justice may have occurred,’”

United States v. Meeks, 742 F.3d 838, 840 (8th Cir. 2014) (citation omitted). The decision to grant

or deny a party’s Rule 33 motion is well within a district court’s wide discretion, and “its decision

will not be reversed on appeal except for a clear abuse of that discretion.” Ferina v. United States,

302 F.2d 95, 108 (8th Cir. 1962) (citation omitted).

       The Eighth Circuit has set forth a five-prong test for courts to rely on when deciding

whether to grant a Rule 33 motion. See, e.g., United States v. Chappell, 990 F.3d 673, 677 (8th
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Cir. 2021). The five prongs are as follows:

       (1) the evidence was actually newly discovered since trial; (2) the moving party
       acted diligently; (3) the newly discovered evidence is neither merely cumulative
       nor impeaching; (4) the newly discovered evidence is material to the issues
       involved; and (5) it is probable that the newly discovered evidence would produce
       an acquittal.

Id. Satisfying these five prongs is a “heavy burden.” United States v. Johnson, 721 F. App’x 140,

141 (3d Cir. 2018) (citation omitted). With these standards in mind, the Court turns to the parties’

arguments.

       By way of background, the 2016 Guidelines and Arkansas State Medical Board’s

regulations were not only admitted into evidence, but they were referenced regularly throughout

the trial by both parties when discussing the applicable standard of care. They were also referenced

in the agreed-upon jury instructions. See ECF No. 170, at 7 (describing “legitimate medical

purpose” and “usual course of professional practice” as “acting in accordance with appropriate

criteria for prescribing controlled substances in the State of Arkansas”). With this background in

mind, Defendant’s argument can be summarized as follows: the jury relied on the 2016 Guidelines

as the applicable standard of care, and because the 2016 Guidelines do not recognize a physician’s

discretion in prescribing medication, a jury convicted Defendant; the 2022 Guidelines were issued

shortly after Defendant’s trial, and the 2022 Guidelines do recognize that a physician has discretion

when prescribing medication; and Defendant is entitled to a new trial because, in light of the

CDC’s issuance of new guidelines, a jury should be able to consider those new guidelines and find

that Defendant acted within his discretion in prescribing medication, namely oxycodone and

promethazine HCl with codeine solution.

       Although Defendant characterizes his motion as one advocating for a new trial based on

newly discovered evidence, it is, in essence, a motion advocating for a new trial based on a change

in the law. His argument is equivalent to an argument that a new trial is warranted based on a
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recently issued judicial opinion, United States v. Perrin, No. 2:14-cr-205, 2019 WL 3997418, at

*2 (W.D. Penn. Aug. 23, 2019), a recently issued administrative decision, United States v. King,

735 F.3d 1098, 1108-09 (9th Cir. 2013), or a new legal theory, United States v. Cook, No.

3:10-cr-522, 2012 WL 1455217, at *2 (N.D. Ohio April 26, 2012), all of which do not qualify as

“newly discovered evidence” within the meaning of Rule 33. “While the definition of ‘evidence’

under Rule 33 is certainly broad, it is not so broad as to include a change in the law.” United States

v. Akins, 1994 WL 148712, at *2 (N.D. Ill. April 12, 1994). Thus, if viewing Defendant’s argument

as a change-in-the-law argument, his motion must be denied, as he has not presented the Court

with any newly discovered evidence.

       Even if the Court assumes that the 2022 Guidelines do qualify as newly discovered

evidence, denial of Defendant’s instant motion is nevertheless appropriate because Defendant

cannot satisfy the Eighth Circuit’s five-prong test. See Chappell, 990 F.3d at 677. Specifically,

Defendant cannot show that “it is probable that the newly discovered evidence would produce an

acquittal.” Id. “With regard to the fifth prong, the ‘district court is required to make a credibility

determination as part of its probability-of-acquittal’ determination.” United States v. Wilson, 624

F.3d 640, 663 (4th Cir. 2010) (quoting United States v. Kelly, 539 F.3d 172, 189 (3d Cir. 2008)).

When determining whether the moving party has satisfied the fifth prong, “the district court cannot

view the [new evidence] in a vacuum; it must weigh the [new evidence] against all of the other

evidence in the record, including the evidence already weighed and considered by the jury in the

defendant’s first trial.” United States v. Rubashkin, No. 08-cr-1324, 2010 WL 4362455, at *7

(N.D. Iowa Oct. 27, 2010) (first alteration in original) (citation omitted).

       Here, over the course of eight days, the jury heard testimony from sixteen (16) witnesses.

Among these witnesses were experts, former patients whose care was encompassed by the

indictment, and former patients whose care was not encompassed by the indictment. Defendant
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also testified. Defendant testified regarding his clinical and prescribing practices, and he explained

to the jury medical decisions that he made on behalf of patients whose care was charged in the

indictment. More specifically, Defendant explained why he prescribed certain MMEs to certain

patients. Additionally, the jury viewed dozens of exhibits, which included hundreds of pages of

patient medical records, photographs from Defendant’s medical clinic, and copies of patient care

contracts executed between Defendant and his patients. 1 The jury viewed the 2016 Guidelines,
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along with the Arkansas State Medical Board’s regulations.                         The jury instructions defined

“legitimate medical purpose” and “usual course of professional practice” as “acting in accordance

with the appropriate criteria for prescribing controlled substances in the State of Arkansas.” ECF

No. 170, at 7. During their almost eight-hour deliberation, the jury had access to every exhibit

presented at trial.

         When viewing the 2022 Guidelines alongside the substantial evidence presented in

Defendant’s October 2022 trial, the Court finds that Defendant has not shown that a new jury (with

access to the 2022 Guidelines) would acquit Defendant of the crimes charged. The jury in

Defendant’s October 2022 trial was presented with a copious amount of evidence and weighed

that evidence against the standards of professional practice which were in place during the dates

of the crimes charged. 2 Ultimately, Defendant is not entitled to a new trial based on the CDC’s
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issuance of the 2022 Guidelines. See Rubashkin, 2010 WL 4362455, at *7; Chappell, 990 F.3d at

677.




1
 These lists of witnesses and exhibits presented at trial are not exhaustive. A full list of witnesses and exhibits can be
found in the record. See ECF Nos. 171, 172, 173, 174.
2
 The Court notes that each of the charges in the Second Superseding Indictment pertain to Defendant’s distribution
and dispersal of controlled substances in the year 2018. See ECF No. 114. Thus, the Court notes that the 2016
Guidelines, not the 2022 Guidelines, were in effect when Defendant distributed the controlled substances charged in
the indictment.
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                                  III. CONCLUSION

      Accordingly, for the foregoing reasons, Defendant’s Motion for a New Trial (ECF No.

196) is hereby DENIED.

      IT IS SO ORDERED, this 15th day of May, 2023.

                                                      /s/ Susan O. Hickey
                                                      Susan O. Hickey
                                                      United States District Judge




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